Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 1 of 11

EXhibit A

Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 2 of 11

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Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 3 of 11

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l’orla-C`l:u'k + Wz\rd. l.l_C
100 F|eet Slrccl. Suite 101
Piltsburgh. I’A 15220
`Fele»‘é(412)()21-7350
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Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 4 of 11

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Del`endant.

N()TlC[£ T() DEFEI\'D

\`ou ha\e been sued in eourt. ll` you \yish to defend against the claims set l`orth in the
l`ollo\\ing pages. you must tal\e action within t\\enty (20) days al`tcr this (`omplaint and Notiee
are Ser\ ed, by entering a \\ritten appearance personally or by attorney and liling in \\riting \\ith
the court your defenses or objections to the claims set lorth against you. You are \\arnccl that il`
you l`ail to do so the case may proceed \\ithout you and a judgment may be entered against you by
the court \\ ithout l`urther notice lor any money elaimed in the Complaint or t`or any other claim 01'
reliel` requested by the Plaintil`l`. You may lose money or property or other rights important to
vou.

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ll" Y()U (`ANN()'l AFP()R[) `l`O lllRl~. A LAWYF.R. 'l'lllS Ol"FlC`l; l\/l.~\Y Bl" ABLlL
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LEGA[, SFRVlC`ES 'l O lELlGlBlJl;` Pl~`.RSONS A'l` A REDUC[:`D l"El:` OR NO l"EE.

Lawyer Referral Servicc
Allcgheny County Bar Association
ll"' Floor, Koppers Building
436 Seventh Avcnue
l’ittsburgh, PA 15219
(412) 261-5555

Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 5 of 11

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l’l NNSYI.\"ANl/\

l’HYl l.lS ll()lll\lAl\' and l)l,l/\Nl: Cil "l lSll. C`lVll DlVlSlOl\`
l’laintills. Doel\et No.:
\’s.
BL()OMIN` BRANDS. lNC`. d/h"a BGNl-_`l lSll
GRll.l..
l)el`endant.
COi\ll’LAlNT lN Cl\-'lla A("l`l()l\`

ANl) N()\\' comes lil;tiittil`l`s. l’hyl|is llohman and Duane (iulish. by and through her
attorney s. l innian l\l. C`arstens. l squirc. and l’orta-Clarl\ + \\'ard_ |.l .C`. and complains and
alleges as l`ollo\\s:

l. l)laintil`l`s l’hy'llis llohman and l)uane Gulish are adult indi\ iduals \\ ho reside at
9582 Babc<)ck Boule\ard. Allison Parl\. Allegheny County. P.'\ l5l0|.

2. Del`endant Bloomin` Brands. lnc.. is a Dela\\are (`orporation \\ith a home ol`licc
address located at 2202 N. \\'est Shore Boule\ard. Suite 500. lampa. l"ll 33607. l)el`endant
Bloomin` Brands. lnc.. does business as Bonelish Urill and o\\ ns and operates a restaurant
named Bonelish Grill located at 8950 Co\enant .f\\enue. l)ittsburgh. Allegheny C`ounty. P/\
l5237 (the "premises.")

3. ,~\t all times relevant to this matter. the Del`endant o\\ned. possessed maintained

and-'or eontrolled the abo\ e-deseribed premises and had a duty. or an implied duty. to maintain.

inspect and-"or repair the premises

Case 2:18-CV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 6 of 11

4. ()n or about 8’20!2018 the l)laintiff\\as an in\'itee. la\\ fully on the aforementioned
premises ofthe Defendant.

5. At all times rele\ant and material hereto. there existed a dangerous defecti\e.
ha/ardous and unsafe condition on the premises of the Defendant. characteri/ed by floors \\hich
\\ ere generally slippery and prone to cause people in the restaurant to fall \\ hen tra\ersing them.

6. On or prior to SQ().-'Z()l 8. employees of l)efcndant received complaints that the
dining room flooring \\as slippery and difficult to \yall\ upon.

7. On or prior to 8“20 20l S. patrons and employ ces had fallen on thc generally slippery
conditions of the dining room flooring.

8. On or prior to S-Q() '20l8. managers and employ ces at the premises \\ ere a\\ are that
the lloors ofthe premises \\ere generally slippery

9. On or prior to 3120:'20l8. managers and employees at the premises was a\\are that
se\ eral people had fallen on the slippery lloors ofthe premises

l(). ()n or prior to 8.“'20."20l8. management at the premises had made requests to the
corporate office that something be done to address the generally slippery lloors and nothing had
been done.

l l. l)laintiffs belie\ e. and therefore a\'er. that the incidence rate among other patrons
being caused to fall. lil\e Plaintiff. under similar circumstances is So pre\'alent that l)efendant
require its own employees to purchase and \\ ear special traction shoes to prey ent them from
falling at the restaurant. including the area \\ here l’laintiff fell.

12. l’laintiff\\ as caused to trip. slip and-’or other\\ise lose her balance as a result of

coming into contact \\ith the aforementioned defective condition

Case 2:18-cV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 7 of 11

l3. As a direct and proximate result of the aforementioned accident. l’laintifl` l)hy llis

llohman sustained the follo\ying injuries some or all of vvhich are or may be permanent

C.

Fractured left vvrist;

Bruises. contusions and other injuries in or about ner\ es. muscles_ boncs.
tendons. ligaments. tissues and vessels ofthe body; and

Nervousncss. emotional tension. an\icty and depression

l-l. /\s a direct and proximate result ofthe aforementioned accident. Plaintiff l’hyllis

l lohman sustained the follo\v ing damages some or all of \\ hich are or may be permanent or on-

going;

l5.

il.

b_

d.

ff)

She has endured. and \vill continue to endure great paint suffering.
inconvenience. embarrassment. mental anguish. monetary e\pendltures for
the care of her injury. and emotional and psychological trauma.

She has heen. and \vill be required to. expend large sums of money for
medical treatment and ‘are. medical supplies rehabilitation and
therapeutic treatment, medicines and other attendant services

ller general health. strength and \itality have been impaired

Shc lras sustained lost earnings and her earning capacity has been and may
be permanently impaired;

She has been and v\ill in the future be unable to enjoy various pleasures of
life that she previously enjoy ed

/\t all times relevant and material herein. Defendant kirc\y or should have kno\\ n of

the dangerous. ha/ardous_ unsafe and defective condition that existed on the premises

Defendant failed to take any steps to eliminate the hazard reduce its danger to inv itees. or

otherwise \varn users. including the l’laintit`f. of its dangerous ha/.ardous. unsafe and defecti\ e

condition

Case 2:18-cV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 8 of 11

C()UNT l

l’laintiff Phyllis llohman y. Defendant Bloomin’ Brands, lnc. d/b/a Bonefish Grill

Negligence

l(). /\ll preceding paragraphs of this Complaint arc incorporated by reference

l7. .-\t all relevant times. Defendant knew or should have known of the dangerous

ha/ardous, unsafe and defective condition that existed on the premiscs.

lS. At all relevant times. Defendant had a duty. or an implied duty. to maintain, inspect

arrd"or repair the premises including the llooring.

lQ. At all relevant times. l)efendant failed to take any' steps to eliminate the ha/ard.

reduce its danger to inv itees. or otherwise warn users. including the l’laintiff. ofits dangerous`

halardous, unsafe and defectiv c condition

20. l’laintifl`s injuries and damages were a direct and proximate result of l)efcndant`s

negligence recklessness and carelessness in the following particulars:

`.

Zl.

TT)

C`ausing and permitting the dangerous. ha/ardous, unsafe and defecti\ e
condition to exist on the premises foran unreasonable period oftime;

ln providing a premises that was unsafe for use;

ln designing constructing. and maintaining the premises in such a manner
that invitees were at risk ofinjury:

ln inadequately repairing. replacing or addressing the defecti\ e nature of
the floor;

ln failing to recognize the dangerous condition ofthe floor involved an
unreasonable risl\ of harm;

ln recognizing the dangerous condition ofthe floor. in recognizing the
unreasonable risl\ that it posed and failing to repair. replace or address the
dangerous condition

ln recognizing the dangerous condition ofthe tloor. in recognizing the
unreasonable risl\l that it posed and in refusing to eliminate the risk it

Case 2:18-cV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 9 of 11

posed;
h. ln permitting the defective floor to exist on the premises:
i. ln failing to select and retain competent employees and management to

efl`ectiv el_v'. adequatel) and safelv perform inspection. maintenance and
repair ofthe premises:

_i. ln failing to v\arn users. including the Plaintiff. regarding the dangerous.
hazardous unsafe and defective condition ofthe premises;

l\. ln failing to altogether eliminate the dangerous hazardous unsafe and
defective condition from the premises;

l. ln failing to cordon off the dangerous condition or othervv'ise prevent
invitees of the premises from transv ersing through the dangerous
lia/ardous. unsafe and del`ectiv e condition:

m. ln negligentl_v designing constructing maintaining repairing and
operating the premises such that l)laintifl`vv as caused to fall;

n. ln failing to timelv'. properl_v. or regularly inspect the premises for defects:
and

o. ln failing to remove repair or cordon offthe unsafe condition on the
premises

\K"Hl-Rl~il-`()Rl". Plaintit`fdemands for judgment against th ‘ above Defendant in an
amount in e.\cess of the jurisdictional limits for compulsory arbitration. together vvith puniti\ e
damages court costs. interest and such other and further relief as the Court ma_v' deem just and
equitable

COl'NT ll
Plaintiff Duane Gulish v'. Defendant Bloomin’ Brands, lnc. d/b/a Bonefls'h Grill

Loss of Consortium

'll. r\ll preceding paragraphs ofthis £`omplaint are incorporated b_v reference

22. .»\t all relevant times l)laintiffs l’h_vllis Hohman and l)uane Gu|ish hav'e resided
together as husband and vvife.

23. As a direct and proximate result of the conduct of the Defendant, Plaintiff L)uane

Case 2:18-cV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 10 of 11

Gulish suffered the follovving damages:

a. lle has been depriv ed of the serv ices. assistance and companionship of his
vv'ife;
b. lle has been required to expend sums of mone_v for medical services and

supplies for the treatment of his vvife`s injuries; and

llc has and vvill suffer emotional stress. tension and anxiet_v.

.‘"

\\`l ll‘.RF.l-'()RF. Plaintiff demands for judgment against the above Defendant in an
amount in excess of the jurisdictional limits for compulsor_\ arbitration. together vvith punitive
damagcs. court costs. interest and such other and further reliefas the (`ourt mav deem just and

equitable

A .ll"R\" TRlAI. lS I)EMANI)ED.

Porta-Clarl\ t \\`urd. l_l.C`

alias __

l"innian M. Carstens. l"squire
Pa l.D. # 209263

Attornc_v' for l’laintiffs‘
l(l() l"leet Strcet. Suite 101
l)ittsburgh. l’A l5220
(4]2)92l-7350

Case 2:18-cV-017OO-RCI\/| Document 1-2 Filed 12/28/18 Page 11 of 11

VERlFlCATlON

\\'e_ Ph_\'llis llohman and l)uane (iulish. being duly svvorn according to lavv. depose and
say that the facts contained in the foregoing Complaint in C`i\‘il .-\etion are true and correct to the
best ofour l\novvledge information and beliel. \l\'e understand that false statements herein are
made subject to the penalties ol lS l’a. t .S Section -l‘)()-l ielating to unsvvorn falsil\cation to

authorities

d rla …o,

Ph_v llis /llohman

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/';)`»'L\.:/tt ~`£.,` ‘». t;

l)uane (iulish

